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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                                 BILLINGS DIVISION


  UNITED STATES OF AMERICA,                       OR 24-29-BLG-SPW

                        Plaintiff,
                                               ORDER SETTING
           vs.                                SENTENCING

  JORDALE THOMAS RED WOLF,

                        Defendant.


      Defendant entered his plea of guilty before U.S. Magistrate Judge Timothy

J. Cavan in open court on May 8,2024. United States Magistrate Judge Timothy J.

Cavan entered Findings and Recommendation in this matter on May 8,2024(Doc.

19). No objections having been filed within fourteen days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations(Doc. 19) are ADOPTED IN FULL;

      Therefore,

     IT IS HEREBY ORDERED that,

      1.         Sentencing is set for Wednesday,September 12,2024 at 9:30 a.m.,

in the James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.
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